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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

In re: Brian Felt                                     :       Chapter 13
                                                      :
                       Debtor(s)                      :       Bankruptcy 19-12314MDC

          ORDER DISMISSING CHAPTER 13 AND SETTING DEADLINE FOR
         APPLICATIONS FOR ALLOWANCE OF ADMINISTRATIVE EXPENSES

         AND NOW, upon consideration of the Motion to Dismiss Case filed by William C.

Miller, Standing Trustee (the “Trustee”), and after notice and hearing, it is hereby ORDERED

that:

         1.    This chapter 13 bankruptcy case is DISMISSED.

         2.    Counsel for the Debtor shall file a master mailing list with the Clerk of the

Bankruptcy Court if such has not been previously filed.

         3.    Any wage orders previously entered are VACATED.

         4.    Pursuant to 11 U.S.C. §349(b)(3), the undistributed chapter 13 plan payments in

the possession of the Trustee shall not revest in the entity in which such property was vested

immediately before the commencement of the case. All other property of the estate shall revest

pursuant to 11 U.S.C. §349(b)(3).

         5.    All applications for allowance of administrative expenses (including applications

for allowance of professional fees) shall be filed within twenty (20) days of the entry of this

Order.

         6.    Counsel for the Debtor shall serve this Order by first class mail, postage prepaid,

on all interested parties within five (5) days of the entry of this Order. Within thirty (30) days

after the entry of this Order, counsel shall file (1) a Certification of Service confirming such

service, and (2) a Certification of No Response confirming that neither an objection to the
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proposed compensation nor an application for administrative expense has been filed, or if such

application has been filed, set a hearing on all such applications.

         7.    If no Certification, as required above in Paragraph 6 has been entered on the

docket within sixty (60) days of the entry of this Order, then the Standing Trustee shall, if any

applications for administrative expenses other than Debtor(s)’ Counsels have been filed, set a

hearing thereon or, if no such applications have been filed, be authorized to return such funds to

Debtor(s) pursuant to 11 U.S.C. '1326(a)(2).


Dated:
                                                      MAGDELINE D. COLEMAN
                                                      UNITED STATES BANKRUPTCY CHIEF JUDGE
